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                  IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



UNITED STATES OF AMERICA                                                   PLAINTIFF

V.                            NO. 4:12CR00014-011 SWW

RICHARD HAWKINS                                                            DEFENDANT



                                            ORDER

       Before the Court is the government’s motion for revocation of the conditions of probation

[doc #621] previously granted the above defendant in this matter.

       A hearing is scheduled to begin on FRIDAY, JANUARY 17, 2014 AT 1:00 P.M., Courtroom

#389, Richard Sheppard Arnold United States Courthouse, 600 West Capitol Avenue, Little Rock,

Arkansas, to show cause why the probation previously granted this defendant should not be revoked.

       The Clerk is directed to issue summons for the hearing in this matter and the U. S. Marshal

is directed to serve the summons on the above-named defendant.

       IT IS SO ORDERED this 16th day of December 2013.


                                                    /s/Susan Webber Wright
                                                    UNITED STATES DISTRICT JUDGE
